                 Case 22-11068-JTD              Doc 1418        Filed 05/03/23         Page 1 of 2




                         IN THE UNITED STATES BANKRUPTCY COURT
                              FOR THE DISTRICT OF DELAWARE

In re:                                                          Chapter 11

FTX TRADING LTD., et al.,1                                      Case No. 22-11068 (JTD)

         Debtors.                                               (Jointly Administered)




      DECLARATION OF BRIAN D. GLUECKSTEIN IN SUPPORT OF MOTION OF
    THE DEBTORS FOR ENTRY OF AN ORDER (I) ENFORCING THE AUTOMATIC
    STAY AND (II) AWARDING THE DEBTORS ATTORNEYS’ FEES AND EXPENSES

         I, Brian D. Glueckstein, hereby declare under penalty of perjury:

                  1.        I am a member in good standing of the Bar of the State of New York and

have been admitted pro hac vice to practice before this Court. I am a partner of Sullivan &

Cromwell LLP and am one of the attorneys representing FTX Trading Ltd., FTX Canada Inc., and

the other Debtors and Debtors-in-Possession in the above-captioned proceedings. I submit this

declaration in support of the Motion of the Debtors for Entry of an Order (I) Enforcing the

Automatic Stay and (II) Awarding the Debtors Attorneys’ Fees and Expenses (“Motion”), filed

concurrently herewith, to place before the Court certain documents referenced in the Motion.2

                  2.        Attached hereto as Exhibit A is a true and correct copy of the SPA entered

into by and among FTX Canada, FTX Trading and Pateno, dated as of June 14, 2022.




1
     The last four digits of FTX Trading Ltd.’s and Alameda Research LLC’s tax identification numbers are 3288 and
     4063 respectively. Due to the large number of debtor entities in these Chapter 11 Cases, a complete list of the
     Debtors and the last four digits of their federal tax identification numbers is not provided herein. A complete list
     of such information may be obtained on the website of the Debtors’ claims and noticing agent at
     https://cases.ra.kroll.com/FTX. The principal place of business of Debtor Emergent Fidelity Technologies Ltd is
     Unit 3B, Bryson’s Commercial Complex, Friars Hill Road, St. John’s, Antigua and Barbuda.

2
     Defined terms used but not otherwise defined herein shall have the meanings ascribed to them in the Motion.
             Case 22-11068-JTD        Doc 1418       Filed 05/03/23    Page 2 of 2




                3.    Attached hereto as Exhibit B is a true and correct copy of the Escrow

Agreement entered into between FTX Canada, Pateno, and the Escrow Agent, dated June 14, 2022.

                4.    Attached hereto as Exhibit C is a true and correct copy of the Termination

Notice, dated November 15, 2022, executed by Pateno and sent to FTX Canada, purporting to

terminate the SPA.

                5.    Attached hereto as Exhibit D is a true and correct of a letter dated December

5, 2022, from Pateno addressed to FTX Canada.

                6.    Attached hereto as Exhibit E is a true and correct copy of a letter dated

December 16, 2022, from counsel to the Debtors sent to counsel for Pateno.

                7.    Attached hereto as Exhibit F is a true and correct copy of the Originating

Application, filed on February 16, 2023 in the Court of King’s Bench of Alberta, Canada,

commencing the Pateno Litigation under the caption Pateno Payments Inc. v. FTX Canada Inc.

and TSX Trust Company, No. 2301-02187.

                8.    Attached hereto as Exhibit G is a true and correct copy of FTX Canada’s

request for an adjournment of the time to respond to the Originating Application, which was

granted at a hearing held on April 13, 2023. The return date on the Originating Application is

May 29, 2023.

                9.    Attached hereto as Exhibit H is a true and correct copy of the Agreement

RE: Outside Date between FTX Canada and Pateno, dated October 3, 2022.


 Dated: May 3, 2023                               /s/ Brian D. Glueckstein
                                                  Brian D. Glueckstein




                                               -2-
